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10                                 UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                     SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                     )   NO. CR-21-00453 SI
14                                                 )   [FILED AUGUST 20, 2021]
            Plaintiff,                             )
15                                                 )
       v.                                          )
16                                                 )   NOTICE OF RELATED CASE IN A CRIMINAL
     BERNARD CURRAN,                               )   ACTION
17                                                 )
            Defendant.                             )
18                                                 )

19
     UNITED STATES OF AMERICA,                     )   NO. CR-23-0404 WHA
20                                                 )   [FILED NOVEMBER 2, 2023]
            Plaintiff,                             )
21                                                 )   NOTICE OF RELATED CASE IN A CRIMINAL
       v.                                          )   ACTION
22                                                 )
     CYRIL YU,                                     )
23                                                 )
            Defendant.                             )
24                                                 )
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     NOTICE OF RELATED CASES
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 1    UNITED STATES OF AMERICA,                        )   NO. CR-23-00403 SI
                                                       )   [FILED NOVEMBER 2, 2023]
 2              Plaintiff,                             )
                                                       )   NOTICE OF RELATED CASE IN A CRIMINAL
 3        v.                                           )   ACTION
                                                       )
 4    RODOLFO “RUDY” PADA,                             )
                                                       )
 5              Defendant.                             )
                                                       )
 6

 7    UNITED STATES OF AMERICA,                        )   NO. CR-23-00420 JSC
                                                       )   [FILED NOVEMBER 9, 2023]
 8              Plaintiff,                             )
                                                       )   NOTICE OF RELATED CASE IN A CRIMINAL
 9        v.                                           )   ACTION
                                                       )
10    REZA KHOSHNEVISAN,                               )
                                                       )
11              Defendant.                             )
                                                       )
12

13    UNITED STATES OF AMERICA,                        )   NO. CR-23-00418 VC
                                                       )   [FILED NOVEMBER 9, 2023]
14              Plaintiff,                             )
                                                       )   NOTICE OF RELATED CASE IN A CRIMINAL
15        v.                                           )   ACTION
                                                       )
16    BAHMAN GHASSEMZADEH,                             )
                                                       )
17              Defendant.                             )
                                                       )
18
19    UNITED STATES OF AMERICA,                        )   NO. CR-23-00421 EMC
                                                       )   [FILED NOVEMBER 9, 2023]
20              Plaintiff,                             )
                                                       )   NOTICE OF RELATED CASE IN A CRIMINAL
21        v.                                           )   ACTION
                                                       )
22    SIAVASH “SIA” TAHBAZOF,                          )
                                                       )
23              Defendant.                             )
                                                       )
24

25             The United States of America, pursuant to Local Criminal Rule 8-1, hereby notifies the Court
26 that the three above-captioned criminal cases are related. Defendant Curran pled guilty in a public

27 corruption case involving bribes paid to employees of the San Francisco Department of Building

28 Inspection (hereinafter “DBI”), where Curran worked. Defendants Sia Tahbazof, Reza Khoshnevisan,

     NOTICE OF RELATED CASES
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 1 and Bahman Ghassemzadeh are all charged with participating in a conspiracy to pay bribes to DBI

 2 employees, including Curran. Additionally, defendants Cyril Yu and Rodolfo Pada are also former DBI

 3 employees, and are charged with participating in a conspiracy to accept bribes from Tahbazof,

 4 Khoshnevisan, and Ghassemzadeh.

 5          Based on these facts, all of these cases are related within the meaning of Local Rule 8-1(b)(1)

 6 because they involve the same defendants and the same events and occurrences. Furthermore, the cases

 7 are related within the meaning of Local Rule 8-1(b)(2) because, if heard by separate judges, the actions

 8 likely would involve substantial duplication of labor by the two judges.

 9          Per the requirement of Local Criminal Rule 8-1(c)(4), government counsel states that assignment

10 of these cases to a single judge is likely to conserve judicial resources and promote an efficient

11 determination of each action.

12

13 DATED: November 27, 2023                                      Respectfully submitted,

14                                                               MATTHEW M. YELOVICH
                                                                 Attorney for the United States
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16                                                               /s/ David J. Ward
                                                                 DAVID J. WARD
17                                                               Assistant United States Attorney

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     NOTICE OF RELATED CASES
